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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Michael Smolko                                                                                              Unimark Lowboy Transportation, LLC; and Ted Pritchett

    (b) County of Residence of First Listed Plaintiff             Clearfield County                           County of Residence of First Listed Defendant              Kenosha County, WI
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Alvin F. de Levie, Esq.
601 Walnut Street, Suite 720 East
Philadelphia, PA 19106 (215) 351-1100

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4    u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. 1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Plaintiff was involved in a motor vehicle accident with the Defendants' vehicle.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
10/04/2017                                                              /s/ Alvin F. de Levie
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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                              UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL SMOLKO                              :
207 Sarah Street                            :   CIVIL ACTION
Osceola Mills, PA 16666                     :
                                            :
               Plaintiff,                   :
                                            :   No. 17-
       v.                                   :
                                            :   JURY TRIAL DEMANDED
UNIMARK LOWBOY                              :
TRANSPORTATION, LLC                         :
1081 Corporate Drive                        :
Pleasant Prairie, WI 53158                  :
                                            :
       and                                  :
                                            :
TED PRITCHETT                               :
292 E. Miriam Street                        :
Alexandria, IN 46001                        :
                                            :
               Defendants.                  :
                                          COMPLAINT


                                             PARTIES

       1.      Plaintiff Michael Smolko is an individual citizen and resident of the

Commonwealth of Pennsylvania residing at the address set forth in the caption above.

       2.      Defendant Unimark Lowboy Transportation, LLC is a business entity maintaining

a place of business at the address set forth in the caption above and, at all times material hereto,

acted by and through its agent, servant, representative and/or employee, Defendant Ted Pritchett,

who at all times material hereto was acting in the course and scope of his agency and/or

employment.

       3.      Defendant Ted Pritchett is an individual residing at the address set forth in the

caption above and who, at all times material hereto, was the agent, servant, representative and/or
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employee of Defendant Unimark Lowboy Transportation, LLC and who, at all times material

hereto, was acting within the course and scope of his agency and/or employment.

       4.      Defendant Unimark Lowboy Transportation, LLC’s website states Defendant

“serves all of North America,” which obviously includes the Commonwealth of Pennsylvania.

Attached hereto, made a part hereof and marked as Exhibit “A” is a “screenshot” of the “About

Page” of Defendant Unimark Lowboy Transportation, LLC’s website.

       5.      Defendant Unimark Lowboy Transportation has in the past and continues to

regularly, routinely, and consistently conduct business in the Commonwealth of Pennsylvania.

       6.      Defendant Unimark Lowboy Transportation has in the past and continues to

regularly, routinely, and consistently operate vehicles on the roads and highways of the

Commonwealth of Pennsylvania.

       7.      Based upon Defendant Unimark Lowboy Transportation’s International Fuel Tax

Agreement (“IFTA”) Tax Returns, and therefore upon information and belief, in 2016, the year

in which the incident described herein occurred, vehicles owned and operated by Defendant

Unimark Lowboy Transportation traveled approximately 1,077,659 miles on the roads and

highways of the Commonwealth of Pennsylvania. Based upon Defendant Unimark Lowboy

Transportation’s IFTA Tax Returns, and therefore upon information and belief, Defendant

Unimark Lowboy Transportation traveled more miles in 2016 in the Commonwealth of

Pennsylvania than in any of the other 50 states in which it operates except Ohio. Attached

hereto, made a part hereof and collectively marked as Exhibit “B” are copies of Defendant

Unimark Lowboy Transportation’s IFTA Tax Returns filed from 2014 to the second quarter of

2017, which Tax Returns were provided by the Wisconsin Department of Transportation.
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       8.      Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and

therefore upon information and belief, in 2016, the year in which the incident described herein

occurred, Defendant Unimark Lowboy Transportation purchased approximately 173,335 gallons

of fuel in the Commonwealth of Pennsylvania. Based upon Defendant Unimark Lowboy

Transportation’s IFTA Tax Returns, and therefore upon information and belief, Defendant

Unimark Lowboy purchased more fuel in 2016 in the Commonwealth of Pennsylvania than in

any of the other 50 states in which it operates except Ohio. See, Exhibit “B.”

       9.      Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and

therefore upon information and belief, in 2016, the year in which the incident which is the

subject of this Complaint occurred, Defendant Unimark Lowboy Transportation paid

approximately $42,240.64 in taxes to the Commonwealth of Pennsylvania pursuant to the IFTA.

Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and therefore

upon information and belief, Defendant Unimark Lowboy Transportation paid more IFTA taxes

to the Commonwealth of Pennsylvania than in any of the other 50 states in which it operates.

See, Exhibit “B.”

       10.     Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and

therefore upon information and belief, between January, 2014 and June, 2017, Defendant

Unimark Lowboy Transportation traveled approximately 3,191,858 miles on the roads and

highways of the Commonwealth of Pennsylvania. Based upon Defendant Unimark Lowboy

Transportation’s IFTA Tax Returns, and therefore upon information and belief, Defendant

Unimark Lowboy Transportation traveled more miles during this time period in the

Commonwealth of Pennsylvania than in any of the other 50 states in which it operates except

Ohio. See, Exhibit “B.”
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       11.      Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and

therefore upon information and belief, between January, 2014 and June, 2017, Defendant

Unimark Lowboy Transportation purchased approximately 535,252 gallons of fuel in the

Commonwealth of Pennsylvania. Based upon Defendant Unimark Lowboy Transportation’s

IFTA Tax Returns, and therefore upon information and belief, Defendant Unimark Lowboy

Transportation purchased more fuel during this time period in the Commonwealth of

Pennsylvania than in any of the other 50 states in which it operates except Ohio. See, Exhibit

“B.”

       12.      Based upon Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and

therefore upon information and belief, between January, 2014 and June, 2017, Defendant

Unimark Lowboy Transportation paid approximately $124,485.20 in taxes to the Commonwealth

of Pennsylvania pursuant to the International Fuel Tax Agreement (“IFTA”). Based upon

Defendant Unimark Lowboy Transportation’s IFTA Tax Returns, and therefore upon

information and belief, Defendant Unimark Lowboy Transportation paid more IFTA taxes to the

Commonwealth of Pennsylvania than in any of the other 50 states in which it operates. See,

Exhibit “B.”

       13.      Upon information and belief, and the information contained in Paragraphs 7-12 of

Plaintiffs Complaint, Defendant Unimark Lowboy Transportation has paid significant

apportioned registration fees to the Commonwealth of Pennsylvania to register their vehicles

therein and drove consistently and continuously on roads and highways of the Commonwealth of

Pennsylvania.
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       14.    According to the U.S. Department of Transportation’s Safety Management

System, Defendant Unimark Lowboy Transportation, LLC has incurred the following inspection

violations while operating in the Commonwealth of Pennsylvania:

              a.      April 24, 2017:        Unspecified violation.

              b.      August 24, 2016:       Two vehicle maintenance violations.

              c.      March 16, 2016:        Unspecified violation.

              d.      March 16, 2016:        Unsafe driving violation.

       Attached hereto, made a part hereof and marked as Exhibit “C” is a copy of Defendant

Unimark Lowboy Transportation, LLC’s Safety Measurement System Profile from the U.S.

Department of Transportation.



                                        JURISDICTION

       15.    Plaintiff brings this Complaint under federal diversity jurisdiction, 28 U.S.C.

1332, as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.00.

       16.    Venue is proper in this district pursuant to 28 U.S.C., S 1391(b)(3) in that the

Defendants are subject to the personal jurisdiction of the Commonwealth of Pennsylvania.



                                            FACTS

       17.    On or about July 30, 2016, at approximately 6:40 a.m., Plaintiff Michael Smolko

was the operator of a motor vehicle when said motor vehicle was involved in an accident with a

truck/tractor trailer negligently and carelessly operated by Defendant Ted Pritchett and owned by

Defendant Unimark Lowboy Transportation, LLC. In said vehicle with Plaintiff was passenger
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Michael Smolko, Jr., a citizen and resident of the Commonwealth of Pennsylvania residing in the

Borough of Osceola Mills and the County of Clearfield.

        18.     The aforesaid accident occurred in the vicinity I-95 near mile marker 108 in the

County of Caroline in the Commonwealth of Virginia when the truck/tractor trailer operated by

Defendant Ted Pritchett negligently and carelessly struck Plaintiff’s vehicle.

        19.     The accident was witnessed by Michael Smolko, Jr., Darlene Smolko and Taylor

Walker, who are all citizens and residents of the Commonwealth of Pennsylvania and residing in

the County of Clearfield.

        20.     Plaintiff, all witnesses identified in Paragraph 19 above, and all medical providers

individually named and those who practice and gave care to Plaintiff at the enumerated medical

facilities, as set forth in Paragraph 27 below, either reside or practice within the Middle District

of Pennsylvania.

        21.     At all times material, Defendants were the agents, servants, representatives and/or

employees of each other and were acting in the course and/or scope of their agency and/or

employment.

        22.     At all times material, Plaintiff is deemed to have the full tort option as defined by

the provisions of the Pennsylvania Motor Vehicle Financial Responsibility Law.

        23.     The accident aforesaid was caused solely as a result of the negligence, and

carelessness of the Defendants and was not in any way whatsoever due to the action or inaction

of Plaintiff.

        24.     As a result of aforesaid, Plaintiff Michael Smolko sustained multiple injuries,

including but not limited to, a paracentral disc herniation with moderate to server bilateral

foraminal stenosis at L4-L5, a left paracentral disc herniation with mild-to-moderate bilateral
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foraminal stenosis at L2-L3, L5-S1 foraminal stenosis requiring surgry, L4-L5 and L5-S1 facet

arthrosis requiring surgery, low back pain, and headaches, some or all of which may be

permanent in nature.

       25.     As a result of the aforesaid, Plaintiff Michael Smolko has undergone great

physical pain and will continue to endure the same to his great detriment and loss.

       26.     As a result of the aforesaid, Plaintiff Michael Smolko has been obliged to expend

and incur large sums of money for medical attention and various purposes in an attempt to effect

a cure for the aforesaid injuries, and Plaintiff may be compelled to expend and/or incur

additional sums for such medical attention.

       27.     To effect a cure for the aforesaid injuries, Plaintiff Michael Smolko received

treatment in the Commonwealth of Pennsylvania from several medical providers, including:

               a.      JC Blair Memorial Hospital’s Radiology Department in the Borough and

                       County of Huntingdon, Commonwealth of Pennsylvania

               b.      Mount Nittany Medical Center in the Borough of State College and the

                       County of Centre, Commonwealth of Pennsylvania;

               c.      University Orthopedics Center in the Borough of State College and the

                       County of Centre, Commonwealth of Pennsylvania.

               d.      Dr. Joel A. Toretti in the Borough of State College and the County of

                       Centre, Commonwealth of Pennsylvania; and

               e.      Dr. Paul D. Lamb in the Borough of State College and the County of

                       Centre, Commonwealth of Pennsylvania.
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       28.     As a result of the aforesaid, Plaintiff Michael Smolko was unable to attend to his

daily duties and occupation, thereby suffering a loss of earnings and/or impairment of earning

capacity, which Plaintiff may continue to suffer for an indefinite time in the future.

       29.     As a result of the aforesaid, Plaintiff Michael Smolko has or may suffer severe

loss because of expenses which have been or may be reasonably incurred in obtaining ordinary

and necessary services in lieu of those which Plaintiff would have performed, not for income but

for the benefit of himself.

       30.     All statutory requirements for the filing of this action have been fulfilled.

       31.     All the averments set forth above are incorporated by reference within each of the

following counts as though set forth therein at length.



                                     COUNT I
                          MICHAEL SMOLKO v. TED PRITCHETT

       32.     The negligence and carelessness of Defendant Ted Pritchett consisted of the

following:

               a)      Failing to have said truck/tractor trailer under adequate and proper control;

               b)      Operating said truck/tractor trailer at a high and excessive rate of speed
                       under the circumstances;

               c)      Failing to use due caution in driving said truck/tractor trailer upon the
                       highway;

               d)      Failing to take due note of the point and position of Plaintiff’s motor
                       vehicle upon the highway;

               e)      Failing to maintain an assured clear distance with Plaintiff’s motor
                       vehicle;

               f)      Failing to stop said truck/tractor trailer;
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                              COUNT II
       MICHAEL SMOLKO v. UNIMARK LOWBOY TRANSPORTATION, LLC

       33.     Defendant Unimark Lowboy Transportation, LLC is legally and vicariously

responsible for the actions, inactions, negligence and carelessness of Defendant Ted Pritchett as

set forth herein and for the losses and damages as identified herein.



       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

each in an amount in excess of Seventy-five Thousand ($75,000.00) Dollars upon each of the

counts set forth herein.



Date: October 4, 2017                                /s/ Alvin F. de Levie
                                                     Alvin F. de Levie, Esq.
                                                     I.D. No. 23245
                                                     afdesq@alvindelevie.com
                                                     The Curtis Center
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                                                     (215) 351-1100
                                                     (215) 351-0257 (fax)

                                                     Counsel for Plaintiff, Michael Smolko
